              Case 22-03553-eg                         Doc 14            Filed 01/25/23 Entered 01/25/23 15:19:32                                               Desc Main
                                                                         Document     Page 1 of 45
Fill in this information to identify your case:

Debtor 1                   Jeremy R Burton
                           First Name                           Middle Name                          Last Name

Debtor 2
(Spouse if, filing)        First Name                           Middle Name                          Last Name


United States Bankruptcy Court for the:                  DISTRICT OF SOUTH CAROLINA

Case number           22-03553
(if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                 amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Part 1:        Summarize Your Assets

                                                                                                                                                                Your assets
                                                                                                                                                                Value of what you own

1.     Schedule A/B: Property (Official Form 106A/B)
       1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $                      0.00

       1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              20,688.00

       1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $              20,688.00

Part 2:        Summarize Your Liabilities

                                                                                                                                                                Your liabilities
                                                                                                                                                                Amount you owe

2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
       2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $              57,105.00

3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
       3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $              17,000.00

       3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $              38,933.00


                                                                                                                                    Your total liabilities $               113,038.00


Part 3:        Summarize Your Income and Expenses

4.     Schedule I: Your Income (Official Form 106I)
       Copy your combined monthly income from line 12 of Schedule I................................................................................             $                4,646.38

5.     Schedule J: Your Expenses (Official Form 106J)
       Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                3,060.00

Part 4:        Answer These Questions for Administrative and Statistical Records

6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
            No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
7.     What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
               household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
           Case 22-03553-eg                 Doc 14       Filed 01/25/23 Entered 01/25/23 15:19:32                                    Desc Main
                                                         Document     Page 2 of 45
Debtor 1    Jeremy R Burton                                                             Case number (if known) 22-03553
           the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
     122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $          6,066.67


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                       Total claim
     From Part 4 on Schedule E/F, copy the following:
     9a. Domestic support obligations (Copy line 6a.)                                                   $            17,000.00

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $                 0.00

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

     9d. Student loans. (Copy line 6f.)                                                                 $                 0.00

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)                                                               $                 0.00

     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


     9g. Total. Add lines 9a through 9f.                                                           $             17,000.00




Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information                        page 2 of 2
              Case 22-03553-eg                Doc 14         Filed 01/25/23 Entered 01/25/23 15:19:32                                    Desc Main
                                                             Document     Page 3 of 45
Fill in this information to identify your case and this filing:

Debtor 1                    Jeremy R Burton
                            First Name               Middle Name                    Last Name

Debtor 2
(Spouse, if filing)         First Name               Middle Name                    Last Name


United States Bankruptcy Court for the:       DISTRICT OF SOUTH CAROLINA

Case number           22-03553                                                                                                                  Check if this is an
                                                                                                                                                amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?



Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1     Make:     DODGE                               Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
          Model:    RAM 1500 TRUCK                         Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
          Year:     2014                                   Debtor 2 only                                          Current value of the      Current value of the
          Approximate mileage:   105,000                   Debtor 1 and Debtor 2 only                             entire property?          portion you own?
          Other information:                               At least one of the debtors and another
         2014 DODGE RAM 1500 TRUCK:
         VIN# (1C6RR7PTBE5360397), (4)                     Check if this is community property                            $11,655.00                  $11,655.00
         DOOR, (8) CYLINDER, (105,000)                      (see instructions)

         MILES, KBB VALUE ($11,655)


  3.2     Make:       NISSAN                            Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
          Model:      ALTIMA                               Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
          Year:       2016                                 Debtor 2 only                                          Current value of the      Current value of the
          Approximate mileage:           130,000           Debtor 1 and Debtor 2 only                             entire property?          portion you own?
          Other information:                               At least one of the debtors and another
         2016 NISSAN ALTIMA: VIN#
         (1N4AL3AP6GN323013), (4)                          Check if this is community property                             $4,558.00                    $4,558.00
         DOOR, (4) CYLINDER, (130,000)                      (see instructions)

         MILES, KBB VALUE ($4,558)




Official Form 106A/B                                                Schedule A/B: Property                                                                    page 1
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Debtor 1       Jeremy R Burton                                                                                     Case number (if known)      22-03553
4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

     No
     Yes



5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>              $16,213.00


Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                                Current value of the
                                                                                                                                                 portion you own?
                                                                                                                                                 Do not deduct secured
                                                                                                                                                 claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
      Yes. Describe.....

                                   HOUSEHOLD GOODS: TABLES, CHAIRS, DESK, BEDS,
                                   DRESSERS, DRAWERS, LAMPS, COOKWARE, MICROWAVE                                                                              $1,000.00


                                   HOUSEHOLD GOODS: SECTIONAL, TV, TOOLS                                                                                       $500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
      Yes. Describe.....

                                   HOUSEHOLD GOODS: TVS, DVD PLAYER, COMPUTER, PHONE                                                                          $1,000.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
      Yes. Describe.....

                                   BOOKS                                                                                                                        $15.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
      No
      Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
      Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
      Yes. Describe.....

                                   CLOTHING                                                                                                                    $500.00

Official Form 106A/B                                                  Schedule A/B: Property                                                                      page 2
            Case 22-03553-eg                                  Doc 14               Filed 01/25/23 Entered 01/25/23 15:19:32                            Desc Main
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Debtor 1        Jeremy R Burton                                                                                             Case number (if known)   22-03553

12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
      Yes. Describe.....

                                          JEWELRY                                                                                                                    $100.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
      No
      Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
      No
      Yes. Give specific information.....


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                                           $3,115.00


Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                                            Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
      Yes................................................................................................................

                                                                                                                               CASH ON
                                                                                                                               HAND                                     $0.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                            17.1.       Checking                                VARO BANK: CHECKING ACCOUNT# (0722)                                  $100.00


                                                                                                SC FEDERAL CREDIT UNION: CHECKING
                                            17.2.       Checking                                ACCOUNT# (8634)                                                         $0.00


                                                                                                SC FEDERAL CREDIT UNION: SAVINGS
                                            17.3.       Savings                                 ACCOUNT# (8634)                                                       $10.00


                                                        Other financial
                                            17.4.       account                                 CASHAPP: FINANCIAL ACCOUNT                                              $0.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
      Yes..................                           Institution or issuer name:



Official Form 106A/B                                                                     Schedule A/B: Property                                                         page 3
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Debtor 1       Jeremy R Burton                                                                      Case number (if known)      22-03553
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
      Yes. Give specific information about them...................
                                 Name of entity:                                                     % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
      No
      Yes. Give specific information about them
                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
      No
      Yes. List each account separately.
                              Type of account:                       Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                              Institution name or individual:


                                 Rental deposit                      SECURITY DEPOSIT: DEBTOR PAID A                                          $1,050.00
                                                                     RENTAL SECURITY DEPOSIT IN THE
                                                                     AMOUNT OF ($1,050)


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
      No
      Yes.............     Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
      Yes.............     Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
      Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
      Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
      Yes. Give specific information about them...

Money or property owed to you?                                                                                                    Current value of the
                                                                                                                                  portion you own?
                                                                                                                                  Do not deduct secured
                                                                                                                                  claims or exemptions.

28. Tax refunds owed to you
      No
      Yes. Give specific information about them, including whether you already filed the returns and the tax years.......




Official Form 106A/B                                             Schedule A/B: Property                                                            page 4
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Debtor 1        Jeremy R Burton                                                                                                 Case number (if known)        22-03553
29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
       No
       Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
       No
       Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
       Yes. Name the insurance company of each policy and list its value.
                                Company name:                                                                        Beneficiary:                                Surrender or refund
                                                                                                                                                                 value:

                                            LIFE INSURANCE: TERM LIFE
                                            INSURANCE POLICY ($50,000), CASH
                                            SURRENDER VALUE OF POLICY
                                            ($0.00)                                                                  SPOUSE/CHILD                                                $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
       No
       Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
       Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
       No
       Yes. Describe each claim.........

35. Any financial assets you did not already list
       No
       Yes. Give specific information..


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................              $1,160.00


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.
      Yes. Go to line 38.



Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
          If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          No. Go to Part 7.
          Yes. Go to line 47.




Official Form 106A/B                                                          Schedule A/B: Property                                                                              page 5
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Debtor 1         Jeremy R Burton                                                                                                       Case number (if known)   22-03553

Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
     No
       Yes. Give specific information.........

                                              PERSONAL PROPERTY: TIRES, RIMS                                                                                                    $200.00


54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                     $200.00

Part 8:         List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ......................................................................................................................                      $0.00
56. Part 2: Total vehicles, line 5                                                                           $16,213.00
57. Part 3: Total personal and household items, line 15                                                       $3,115.00
58. Part 4: Total financial assets, line 36                                                                   $1,160.00
59. Part 5: Total business-related property, line 45                                                              $0.00
60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
61. Part 7: Total other property not listed, line 54                                             +              $200.00

62. Total personal property. Add lines 56 through 61...                                                      $20,688.00              Copy personal property total            $20,688.00

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                           $20,688.00




Official Form 106A/B                                                              Schedule A/B: Property                                                                           page 6
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Fill in this information to identify your case:

Debtor 1                Jeremy R Burton
                        First Name                   Middle Name                Last Name

Debtor 2
(Spouse if, filing)     First Name                   Middle Name                Last Name


United States Bankruptcy Court for the:        DISTRICT OF SOUTH CAROLINA

Case number           22-03553
(if known)                                                                                                                        Check if this is an
                                                                                                                                  amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                            4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on     Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property             portion you own
                                                       Copy the value from    Check only one box for each exemption.
                                                       Schedule A/B

     2014 DODGE RAM 1500 TRUCK: VIN#                          $11,655.00                                 $6,700.00     S.C. Code Ann. §
     (1C6RR7PTBE5360397), (4) DOOR,                                                                                    15-41-30(A)(2)
     (8) CYLINDER, (105,000) MILES, KBB                                            100% of fair market value, up to
     VALUE ($11,655)                                                               any applicable statutory limit
     Line from Schedule A/B: 3.1

     HOUSEHOLD GOODS: TABLES,                                  $1,000.00                                 $1,000.00     S.C. Code Ann. §
     CHAIRS, DESK, BEDS, DRESSERS,                                                                                     15-41-30(A)(3)
     DRAWERS, LAMPS, COOKWARE,                                                     100% of fair market value, up to
     MICROWAVE                                                                     any applicable statutory limit
     Line from Schedule A/B: 6.1

     HOUSEHOLD GOODS: SECTIONAL,                                   $500.00                                 $500.00     S.C. Code Ann. §
     TV, TOOLS                                                                                                         15-41-30(A)(3)
     Line from Schedule A/B: 6.2                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     HOUSEHOLD GOODS: TVS, DVD                                 $1,000.00                                 $1,000.00     S.C. Code Ann. §
     PLAYER, COMPUTER, PHONE                                                                                           15-41-30(A)(3)
     Line from Schedule A/B: 7.1                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit




Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                     page 1 of 3
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Debtor 1   Jeremy R Burton                                                                     Case number (if known)     22-03553
    Brief description of the property and line on    Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property            portion you own
                                                     Copy the value from    Check only one box for each exemption.
                                                     Schedule A/B

    BOOKS                                                       $15.00                                    $15.00        S.C. Code Ann. §
    Line from Schedule A/B: 8.1                                                                                         15-41-30(A)(3)
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    CLOTHING                                                   $500.00                                   $500.00        S.C. Code Ann. §
    Line from Schedule A/B: 11.1                                                                                        15-41-30(A)(3)
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    JEWELRY                                                    $100.00                                   $100.00        S.C. Code Ann. §
    Line from Schedule A/B: 12.1                                                                                        15-41-30(A)(4)
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    CASH ON HAND                                                  $0.00                                     $0.00       S.C. Code Ann. §
    Line from Schedule A/B: 16.1                                                                                        15-41-30(A)(5)
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Checking: VARO BANK: CHECKING                              $100.00                                   $100.00        S.C. Code Ann. §
    ACCOUNT# (0722)                                                                                                     15-41-30(A)(5)
    Line from Schedule A/B: 17.1                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Checking: SC FEDERAL CREDIT                                   $0.00                                     $0.00       S.C. Code Ann. §
    UNION: CHECKING ACCOUNT#                                                                                            15-41-30(A)(5)
    (8634)                                                                       100% of fair market value, up to
    Line from Schedule A/B: 17.2                                                 any applicable statutory limit

    Savings: SC FEDERAL CREDIT                                  $10.00                                    $10.00        S.C. Code Ann. §
    UNION: SAVINGS ACCOUNT# (8634)                                                                                      15-41-30(A)(5)
    Line from Schedule A/B: 17.3                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Other financial account: CASHAPP:                             $0.00                                     $0.00       S.C. Code Ann. §
    FINANCIAL ACCOUNT                                                                                                   15-41-30(A)(5)
    Line from Schedule A/B: 17.4                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Rental deposit: SECURITY DEPOSIT:                       $1,050.00                                  $1,050.00        S.C. Code Ann. §
    DEBTOR PAID A RENTAL SECURITY                                                                                       15-41-30(A)(5)
    DEPOSIT IN THE AMOUNT OF                                                     100% of fair market value, up to
    ($1,050)                                                                     any applicable statutory limit
    Line from Schedule A/B: 22.1

    LIFE INSURANCE: TERM LIFE                                     $0.00                                     $0.00       S.C. Code Ann. §
    INSURANCE POLICY ($50,000),                                                                                         15-41-30(A)(8)
    CASH SURRENDER VALUE OF                                                      100% of fair market value, up to
    POLICY ($0.00)                                                               any applicable statutory limit
    Beneficiary: SPOUSE/CHILD
    Line from Schedule A/B: 31.1

    PERSONAL PROPERTY: TIRES,                                  $200.00                                   $200.00        S.C. Code Ann. §
    RIMS                                                                                                                15-41-30(A)(3)
    Line from Schedule A/B: 53.1                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit



Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                       page 2 of 3
           Case 22-03553-eg                Doc 14        Filed 01/25/23 Entered 01/25/23 15:19:32                              Desc Main
                                                        Document      Page 11 of 45
Debtor 1    Jeremy R Burton                                                                  Case number (if known)      22-03553
3. Are you claiming a homestead exemption of more than $189,050?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes




Official Form 106C                            Schedule C: The Property You Claim as Exempt                                             page 3 of 3
              Case 22-03553-eg                    Doc 14           Filed 01/25/23 Entered 01/25/23 15:19:32                                     Desc Main
                                                                  Document      Page 12 of 45
Fill in this information to identify your case:

Debtor 1                   Jeremy R Burton
                           First Name                      Middle Name                      Last Name

Debtor 2
(Spouse if, filing)        First Name                      Middle Name                      Last Name


United States Bankruptcy Court for the:             DISTRICT OF SOUTH CAROLINA

Case number           22-03553
(if known)                                                                                                                                       Check if this is an
                                                                                                                                                 amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
          No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below.
Part 1:        List All Secured Claims
                                                                                                           Column A               Column B                Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                           value of collateral.   claim                   If any
2.1     AARONS                                   Describe the property that secures the claim:                   $4,200.00                   $500.00          $3,700.00
        Creditor's Name                          HOUSEHOLD GOODS-SECTIONAL,
                                                 TV, TOOLS: TO BE PAID IN PLAN
        2049 SAVANNAH HWY,
                                                 As of the date you file, the claim is: Check all that
        STE 2                                    apply.
        Charleston, SC 29407                         Contingent
        Number, Street, City, State & Zip Code       Unliquidated
                                                     Disputed
Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                      car loan)
    Debtor 2 only
      Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another          Judgment lien from a lawsuit
      Check if this claim relates to a               Other (including a right to offset)   Purchase Money Security
      community debt

Date debt was incurred          10/22                     Last 4 digits of account number        9988




Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 3
             Case 22-03553-eg                       Doc 14            Filed 01/25/23 Entered 01/25/23 15:19:32                                   Desc Main
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Debtor 1 Jeremy R Burton                                                                                     Case number (if known)   22-03553
              First Name                  Middle Name                      Last Name


2.2     PRESTIGE FINANCIAL                         Describe the property that secures the claim:                    $28,000.00          $11,655.00     $16,345.00
        Creditor's Name                            2014 DODGE RAM 1500 TRUCK:

        351 W OPPORTUNITY
                                                   As of the date you file, the claim is: Check all that
        WAY                                        apply.
        Draper, UT 84020                                Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                         car loan)
   Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)   Auto Loan
      community debt

Date debt was incurred          3/22                        Last 4 digits of account number         9988

2.3     RNR TIRE                                   Describe the property that secures the claim:                      $1,500.00            $200.00      $1,300.00
        Creditor's Name                            PERSONAL PROPERTY-TIRES,
                                                   RIMS: TO BE PAID IN PLAN
                                                   As of the date you file, the claim is: Check all that
        7001 RIVERS AVENUE                         apply.
        Charleston, SC 29406                            Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                         car loan)
   Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)   Purchase Money Security
      community debt

Date debt was incurred          3/22                        Last 4 digits of account number         9988

2.4     US AUTO FINANCE                            Describe the property that secures the claim:                    $22,806.00           $4,558.00     $18,248.00
        Creditor's Name                            2016 NISSAN ALTIMA: TO BE PAID
                                                   IN PLAN
        824 N MARKET STREET,
                                                   As of the date you file, the claim is: Check all that
        STE 220                                    apply.
        Wilmington, DE 19801                            Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                         car loan)
   Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)   Auto Loan
      community debt

Date debt was incurred          3/22                        Last 4 digits of account number         9988




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2 of 3
             Case 22-03553-eg                       Doc 14            Filed 01/25/23 Entered 01/25/23 15:19:32                                   Desc Main
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Debtor 1 Jeremy R Burton                                                                                     Case number (if known)   22-03553
              First Name                  Middle Name                      Last Name


2.5     WORLD FINANCE                              Describe the property that secures the claim:                        $599.00          $1,000.00             $0.00
        Creditor's Name                            HOUSEHOLD GOODS: 522(F)
                                                   VOIDABLE
                                                   As of the date you file, the claim is: Check all that
        108 FREDRICK STREET                        apply.
        Greenville, SC 29607                            Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                         car loan)
   Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)   Non-Purchase Money Security
      community debt

Date debt was incurred          6/18                        Last 4 digits of account number         9988


  Add the dollar value of your entries in Column A on this page. Write that number here:                                    $57,105.00
  If this is the last page of your form, add the dollar value totals from all pages.
  Write that number here:                                                                                                   $57,105.00

Part 2:     List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
debts in Part 1, do not fill out or submit this page.




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 3 of 3
              Case 22-03553-eg                     Doc 14          Filed 01/25/23 Entered 01/25/23 15:19:32                                         Desc Main
                                                                  Document      Page 15 of 45
Fill in this information to identify your case:

Debtor 1                     Jeremy R Burton
                             First Name                    Middle Name                       Last Name

Debtor 2
(Spouse if, filing)          First Name                    Middle Name                       Last Name


United States Bankruptcy Court for the:                DISTRICT OF SOUTH CAROLINA

Case number           22-03553
(if known)                                                                                                                                           Check if this is an
                                                                                                                                                     amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.

          Yes.
2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
      identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
      possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
      Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                                        amount                amount
2.1          AIKEN COUNTY FAMILY COURT                           Last 4 digits of account number         9988             $17,000.00         $17,000.00                    $0.00
             Priority Creditor's Name
             ATTN: CHILD SUPPORT                                 When was the debt incurred?
             FIRST FLOOR
             109 PARK AVE SW
             Aiken, SC 29801
             Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                             Contingent
             Debtor 1 only                                           Unliquidated
             Debtor 2 only                                           Disputed
             Debtor 1 and Debtor 2 only                          Type of PRIORITY unsecured claim:

             At least one of the debtors and another                 Domestic support obligations

             Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
             No                                                      Other. Specify
             Yes                                                                       Child Support




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 1 of 6
                                                                                                              29926
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Debtor 1 Jeremy R Burton                                                                                  Case number (if known)            22-03553

2.2        MICHELLE THOMAS                                        Last 4 digits of account number       9988                      $0.00                  $0.00                  $0.00
           Priority Creditor's Name
           1524 PINE LOG ROAD                                     When was the debt incurred?
           Aiken, SC 29803
           Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                             Contingent
           Debtor 1 only                                             Unliquidated
           Debtor 2 only                                             Disputed
           Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

           At least one of the debtors and another                   Domestic support obligations

           Check if this claim is for a community debt               Taxes and certain other debts you owe the government
       Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
           No                                                        Other. Specify
           Yes                                                                         Child Support

           SC DEPT OF CHILD SUPPORT
2.3        ENFORCEMENT                                            Last 4 digits of account number       9988                      $0.00                  $0.00                  $0.00
           Priority Creditor's Name
           PO BOX 1489                                            When was the debt incurred?
           Columbia, SC 29202
           Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                             Contingent
           Debtor 1 only                                             Unliquidated
           Debtor 2 only                                             Disputed
           Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

           At least one of the debtors and another                   Domestic support obligations

           Check if this claim is for a community debt               Taxes and certain other debts you owe the government
       Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
           No                                                        Other. Specify
           Yes                                                                         Child Support


Part 2:       List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

         No. You have nothing to report in this part. Submit this form to the court with your other schedules.

         Yes.

4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                             Total claim




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 2 of 6
           Case 22-03553-eg                    Doc 14       Filed 01/25/23 Entered 01/25/23 15:19:32                                        Desc Main
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Debtor 1 Jeremy R Burton                                                                         Case number (if known)         22-03553

         CHARLESTON COUNTY
4.1      TREASURER                                           Last 4 digits of account number       9988                                                 $0.00
         Nonpriority Creditor's Name
         PO BOX 878                                          When was the debt incurred?
         Charleston, SC 29402
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Notice Only


4.2      CONVERGENT OUTSOURCING                              Last 4 digits of account number       9988                                             $646.00
         Nonpriority Creditor's Name
         800 SW 39TH STREET                                  When was the debt incurred?           12/18
         Renton, WA 98057
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Collections


4.3      CREDIT ACCEPTANCE                                   Last 4 digits of account number       9988                                           $15,000.00
         Nonpriority Creditor's Name
         25505 W 12 MILE ROAD. STE 3000                      When was the debt incurred?           1/21
         Southfield, MI 48034
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Repossession Deficiency




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 3 of 6
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Debtor 1 Jeremy R Burton                                                                         Case number (if known)         22-03553

4.4      CREDIT FIRST                                        Last 4 digits of account number       9988                                            $1,000.00
         Nonpriority Creditor's Name
         6275 EASTLAND ROAD                                  When was the debt incurred?           1/22
         Brookpark, OH 44142
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Line of Credit


4.5      FIRST PREMIER BANK                                  Last 4 digits of account number       9988                                             $365.00
         Nonpriority Creditor's Name
         605 S MINNESOTA AVE                                 When was the debt incurred?           1/22
         Sioux Falls, SD 57104
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit card purchases


4.6      IC SYSTEMS                                          Last 4 digits of account number       9988                                            $1,000.00
         Nonpriority Creditor's Name
         PO BOX 64378                                        When was the debt incurred?           3/19
         Saint Paul, MN 55164
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Collections




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 4 of 6
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Debtor 1 Jeremy R Burton                                                                           Case number (if known)          22-03553

4.7       IRS                                                  Last 4 digits of account number       9988                                                $12,922.00
          Nonpriority Creditor's Name
          PO BOX 7346                                          When was the debt incurred?           2018
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community              Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Unsecured Federal Income Taxes


4.8       SC DEPT OF REVENUE                                   Last 4 digits of account number       9988                                                 $6,000.00
          Nonpriority Creditor's Name
          PO BOX 12265                                         When was the debt incurred?           2018
          Columbia, SC 29211
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community              Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Unsecured State Taxes


4.9       VERIZON                                              Last 4 digits of account number       9988                                                 $2,000.00
          Nonpriority Creditor's Name
          PO BOX 650051                                        When was the debt incurred?           12/21
          Dallas, TX 75265
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community              Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Services

Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
TMOBILE                                                  Line 4.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
PO BOX 37380
Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 5 of 6
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Debtor 1 Jeremy R Burton                                                                                Case number (if known)        22-03553

Albuquerque, NM 87176                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
                                                             Last 4 digits of account number


Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                             Total Claim
                        6a.   Domestic support obligations                                                6a.      $                    17,000.00
Total
claims
from Part 1             6b.   Taxes and certain other debts you owe the government                        6b.      $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated              6c.      $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.      $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.      $                    17,000.00

                                                                                                                             Total Claim
                        6f.   Student loans                                                               6f.      $                           0.00
Total
claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.      $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.      $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                $                    38,933.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.      $                    38,933.00




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 6 of 6
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                                                                    Document      Page 21 of 45
Fill in this information to identify your case:

Debtor 1                  Jeremy R Burton
                          First Name                         Middle Name            Last Name

Debtor 2
(Spouse if, filing)       First Name                         Middle Name            Last Name


United States Bankruptcy Court for the:               DISTRICT OF SOUTH CAROLINA

Case number           22-03553
(if known)                                                                                                                             Check if this is an
                                                                                                                                       amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                  State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code

     2.1      FINE HOMES OF CHARLESTON                                                   DEBTORS RESIDENCE-1028 ORLEANS ROAD,
              6024 FIELDSTONE CIRCLE                                                     CHARLESTON SC 29407, DEBTOR RENTS RESIDENCE
              Charleston, SC 29414                                                       AND PAYS ($2,300)/MONTH. DEBTOR WILL REJECT
                                                                                         CONTRACT.




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
              Case 22-03553-eg                        Doc 14           Filed 01/25/23 Entered 01/25/23 15:19:32              Desc Main
                                                                      Document      Page 22 of 45
Fill in this information to identify your case:

Debtor 1                   Jeremy R Burton
                           First Name                           Middle Name        Last Name

Debtor 2
(Spouse if, filing)        First Name                           Middle Name        Last Name


United States Bankruptcy Court for the:                 DISTRICT OF SOUTH CAROLINA

Case number           22-03553
(if known)                                                                                                                   Check if this is an
                                                                                                                             amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                   12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

          No
          Yes

      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
     out Column 2.

               Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


   3.1         KAROLYNN BURTON                                                                       Schedule D, line
               1028 ORLEANS ROAD                                                                     Schedule E/F, line 4.3
               Charleston, SC 29407
                                                                                                     Schedule G
                                                                                                   CREDIT ACCEPTANCE




Official Form 106H                                                             Schedule H: Your Codebtors                                 Page 1 of 1
              Case 22-03553-eg                Doc 14       Filed 01/25/23 Entered 01/25/23 15:19:32                                 Desc Main
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Fill in this information to identify your case:

Debtor 1                      Jeremy R Burton

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF SOUTH CAROLINA

Case number               22-03553                                                                      Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                    Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                                Not employed
       employers.
                                             Occupation            WORKER                                      HOUSEWIFE
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       W INTERNATIONAL SC                          HOUSEWIFE

       Occupation may include student        Employer's address
                                                                   2040 BUSHY PARK ROAD
       or homemaker, if it applies.
                                                                   Goose Creek, SC 29445

                                             How long employed there?         4 MONTHS

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $         6,066.67        $            0.00

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$           0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      6,066.67               $      0.00




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
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Debtor 1   Jeremy R Burton                                                                       Case number (if known)    22-03553


                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $      6,066.67       $             0.00

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $        394.59       $               0.00
     5b.    Mandatory contributions for retirement plans                                  5b.        $          0.00       $               0.00
     5c.    Voluntary contributions for retirement plans                                  5c.        $          0.00       $               0.00
     5d.    Required repayments of retirement fund loans                                  5d.        $          0.00       $               0.00
     5e.    Insurance                                                                     5e.        $      1,025.70       $               0.00
     5f.    Domestic support obligations                                                  5f.        $          0.00       $               0.00
     5g.    Union dues                                                                    5g.        $          0.00       $               0.00
     5h.    Other deductions. Specify:                                                    5h.+       $          0.00 +     $               0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          1,420.29       $               0.00
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          4,646.38       $               0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00   $               0.00
     8b. Interest and dividends                                                           8b.        $              0.00   $               0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00   $               0.00
     8d. Unemployment compensation                                                        8d.        $              0.00   $               0.00
     8e. Social Security                                                                  8e.        $              0.00   $               0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $               0.00
     8g. Pension or retirement income                                                     8g. $                     0.00   $               0.00
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $               0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00   $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              4,646.38 + $           0.00 = $           4,646.38
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                   0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.   $           4,646.38
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: DEBTOR DOES NOT ANTICIPATE ANY CHANGES TO INCOME WITHIN THE NEXT YEAR.




Official Form 106I                                                     Schedule I: Your Income                                                      page 2
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Fill in this information to identify your case:

Debtor 1                 Jeremy R Burton                                                                   Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF SOUTH CAROLINA                                                 MM / DD / YYYY

Case number           22-03553
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            1,100.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                             0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            25.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
        Case 22-03553-eg                    Doc 14          Filed 01/25/23 Entered 01/25/23 15:19:32                                      Desc Main
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Debtor 1     Jeremy R Burton                                                                           Case number (if known)      22-03553

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 150.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                   0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 150.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                300.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                 45.00
10.   Personal care products and services                                                    10. $                                                  45.00
11.   Medical and dental expenses                                                            11. $                                                  25.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 250.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                  25.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  140.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: AUTO PROPERTY TAXES                                                           16. $                                                  45.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                 760.00
19.   Other payments you make to support others who do not live with you.                         $                                                  0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       3,060.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       3,060.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               4,646.38
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              3,060.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                              1,586.38

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here: DEBTOR DOES NOT ANTICIPATE ANY CHANGES TO EXPENSES WITHIN THE NEXT YEAR.




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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Fill in this information to identify your case:

Debtor 1                    Jeremy R Burton
                            First Name            Middle Name              Last Name

Debtor 2
(Spouse if, filing)         First Name            Middle Name              Last Name


United States Bankruptcy Court for the:       DISTRICT OF SOUTH CAROLINA

Case number              22-03553
(if known)                                                                                                                   Check if this is an
                                                                                                                             amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                 12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

               Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Jeremy R Burton                                               X
             Jeremy R Burton                                                   Signature of Debtor 2
             Signature of Debtor 1

             Date       January 25, 2023                                       Date




Official Form 106Dec                              Declaration About an Individual Debtor's Schedules
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Fill in this information to identify your case:

Debtor 1                  Jeremy R Burton
                          First Name                  Middle Name                   Last Name

Debtor 2
(Spouse if, filing)       First Name                  Middle Name                   Last Name


United States Bankruptcy Court for the:          DISTRICT OF SOUTH CAROLINA

Case number           22-03553
(if known)                                                                                                                            Check if this is an
                                                                                                                                      amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                        04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.    What is your current marital status?

              Married
              Not married

2.    During the last 3 years, have you lived anywhere other than where you live now?

              No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

       Debtor 1:                                          Dates Debtor 1               Debtor 2 Prior Address:                            Dates Debtor 2
                                                          lived there                                                                     lived there
       595 JOHNSTON HWY                                   From-To:                         Same as Debtor 1                                  Same as Debtor 1
       Trenton, SC 29847                                  DECEMBER 2021                                                                   From-To:
                                                          TO MARCH 2022

       142 SENN STREET                                    From-To:                         Same as Debtor 1                                  Same as Debtor 1
       Aiken, SC 29801                                    DECEMBER 2019                                                                   From-To:
                                                          TO DECEMBER
                                                          2021

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Part 2         Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

              No
              Yes. Fill in the details.

                                               Debtor 1                                                       Debtor 2
                                               Sources of income               Gross income                   Sources of income           Gross income
                                               Check all that apply.           (before deductions and         Check all that apply.       (before deductions
                                                                               exclusions)                                                and exclusions)
Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 1
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Debtor 1     Jeremy R Burton                                                                           Case number (if known)   22-03553


                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income                   Sources of income           Gross income
                                                Check all that apply.           (before deductions and         Check all that apply.       (before deductions
                                                                                exclusions)                                                and exclusions)

From January 1 of current year until               Wages, commissions,                      $39,760.00           Wages, commissions,
the date you filed for bankruptcy:                                                                             bonuses, tips
                                                bonuses, tips

                                                   Operating a business                                           Operating a business


For last calendar year:                            Wages, commissions,                      $57,407.00           Wages, commissions,
(January 1 to December 31, 2021 )                                                                              bonuses, tips
                                                bonuses, tips

                                                   Operating a business                                           Operating a business


For the calendar year before that:                 Wages, commissions,                      $30,000.00           Wages, commissions,
(January 1 to December 31, 2020 )                                                                              bonuses, tips
                                                bonuses, tips

                                                   Operating a business                                           Operating a business


5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income from              Sources of income           Gross income
                                                Describe below.                 each source                    Describe below.             (before deductions
                                                                                (before deductions and                                     and exclusions)
                                                                                exclusions)
From January 1 of current year until RETIREMENT                                               $2,500.00
the date you filed for bankruptcy:

For last calendar year:                         UNEMPLOYMENT                                  $3,900.00
(January 1 to December 31, 2021 )

For the calendar year before that:              N/A                                                $0.00
(January 1 to December 31, 2020 )


Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 2
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                                                            Document      Page 40 of 45
Debtor 1     Jeremy R Burton                                                                         Case number (if known)    22-03553



           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                       No.      Go to line 7.
                       Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                attorney for this bankruptcy case.


      Creditor's Name and Address                        Dates of payment              Total amount          Amount you        Was this payment for ...
                                                                                               paid            still owe

7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
     of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
     a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
     alimony.

           No
           Yes. List all payments to an insider.
      Insider's Name and Address                         Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                               paid            still owe

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
      Insider's Name and Address                         Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                               paid            still owe       Include creditor's name

Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.
      Case title                                         Nature of the case           Court or agency                          Status of the case
      Case number
      FINE HOMES OF CHARLESTON V                         CIVIL                        WEST ASHLEY                                 Pending
      JEREMY BURTON AND                                                               MAGISTRATE                                  On appeal
      KAROLYNN BURTON                                                                 1720 SAM RITTENBERG
                                                                                                                                  Concluded
      2022CV1010901976                                                                BLVD, #11
                                                                                      Charleston, SC 29407


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
      Creditor Name and Address                          Describe the Property                                          Date                        Value of the
                                                                                                                                                       property
                                                         Explain what happened




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      Creditor Name and Address                              Describe the Property                                          Date                   Value of the
                                                                                                                                                      property
                                                             Explain what happened
      CREDIT ACCEPTANCE                                      2014 TOYOTA COROLLA                                            MAY 2022                Unknown
      25505 W 12 MILE ROAD. STE 3000
      Southfield, MI 48034                                       Property was repossessed.
                                                                 Property was foreclosed.
                                                                 Property was garnished.
                                                                 Property was attached, seized or levied.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
      Creditor Name and Address                              Describe the action the creditor took                          Date action was            Amount
                                                                                                                            taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes

Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
      Gifts with a total value of more than $600                   Describe the gifts                                       Dates you gave               Value
      per person                                                                                                            the gifts

      Person to Whom You Gave the Gift and
      Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
      Gifts or contributions to charities that total               Describe what you contributed                            Dates you                    Value
      more than $600                                                                                                        contributed
      Charity's Name
      Address (Number, Street, City, State and ZIP Code)

Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
      Describe the property you lost and                 Describe any insurance coverage for the loss                       Date of your      Value of property
      how the loss occurred                              Include the amount that insurance has paid. List pending           loss                           lost
                                                         insurance claims on line 33 of Schedule A/B: Property.




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Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                  Description and value of any property                    Date payment             Amount of
      Address                                              transferred                                              or transfer was           payment
      Email or website address                                                                                      made
      Person Who Made the Payment, if Not You
      MOSS & ASSOCIATES, ATTORNEYS                         ATTORNEYS FEES: $786.00                                  DECEMBER                 $1,099.00
      P.A.                                                 FILING FEE: $313.00                                      2022
      816 ELMWOOD AVENUE
      COLUMBIA, SC 29201


      1$WISER CONSUMER EDUCATION                           CREDIT COUNSELING: $0.00                                 DECEMBER                      $0.00
      6650 RIVERS AVENUE, STE 100                                                                                   2022
      Charleston, SC 29406


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                  Description and value of any property                    Date payment             Amount of
      Address                                              transferred                                              or transfer was           payment
                                                                                                                    made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
           Yes. Fill in the details.
      Person Who Received Transfer                         Description and value of                   Describe any property or        Date transfer was
      Address                                              property transferred                       payments received or debts      made
                                                                                                      paid in exchange
      Person's relationship to you
      STEVE BURTON                                         2003 GMC YUKON, VALUE                      DEBTOR SOLD                     NOVEMBER
                                                           ($1,500)                                   PROPERTY TO                     2022
                                                                                                      BROTHER WHO PAID
      BROTHER                                                                                         TITLEMAX FOR THE
                                                                                                      BALANCE ON THE
                                                                                                      VEHICLE OF $1,500,
                                                                                                      DEBTOR DID NOT
                                                                                                      RECEIVE ANY
                                                                                                      COMPENSATION FOR
                                                                                                      VEHICLE.


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
      Name of trust                                        Description and value of the property transferred                          Date Transfer was
                                                                                                                                      made



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Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
           Yes. Fill in the details.
      Name of Financial Institution and                      Last 4 digits of               Type of account or           Date account was             Last balance
      Address (Number, Street, City, State and ZIP           account number                 instrument                   closed, sold,            before closing or
      Code)                                                                                                              moved, or                         transfer
                                                                                                                         transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
      Name of Financial Institution                                Who else had access to it?                 Describe the contents               Do you still
      Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City,                                                 have it?
                                                                   State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
      Name of Storage Facility                                     Who else has or had access                 Describe the contents               Do you still
      Address (Number, Street, City, State and ZIP Code)           to it?                                                                         have it?
                                                                   Address (Number, Street, City,
                                                                   State and ZIP Code)

Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

           No
           Yes. Fill in the details.
      Owner's Name                                                 Where is the property?                     Describe the property                          Value
      Address (Number, Street, City, State and ZIP Code)           (Number, Street, City, State and ZIP
                                                                   Code)

Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
     toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
     regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
     to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
     hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
      Name of site                                                 Governmental unit                             Environmental law, if you        Date of notice
      Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State and      know it
                                                                   ZIP Code)




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25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)          Address (Number, Street, City, State and      know it
                                                                   ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                  Court or agency                            Nature of the case                   Status of the
       Case Number                                                 Name                                                                            case
                                                                   Address (Number, Street, City,
                                                                   State and ZIP Code)

Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                         Describe the nature of the business                   Employer Identification number
       Address                                                                                                     Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)            Name of accountant or bookkeeper
                                                                                                                   Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                  Date Issued
       Address
       (Number, Street, City, State and ZIP Code)

Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

/s/ Jeremy R Burton
Jeremy R Burton                                                        Signature of Debtor 2
Signature of Debtor 1

Date      January 25, 2023                                             Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).
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